    Case 1:15-cr-00107-DHB-BKE Document 282 Filed 10/18/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT


                    FOR THE SOUTHERN DISTRICT OF GEORGIA


                                  AUGUSTA DIVISION


RACHEL LEE PADGETT,

              Petitioner,

       V.                                               CV 121-034
                                                        (Formerly CR 115-107)
UNITED STATES OF AMERICA,

              Respondent.


                                         ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

GRANTS the amended § 2255 motion as to Petitioner's claim in Ground 3(a) for ineffective

assistance of counsel at sentencing, DISMISSES without prejudice the amended § 2255

motion as to all other claims, and DENIES AS MOOT the motion for an evidentiary

hearing,(doc. no. 3).

       The Court REASSIGNS the case to United States District Judge Dudley H. Bowen

for resentencing and final disposition. See, e.g.. United States v. Perez. 520 F. App'x 923,

923 (11th Cir. 2013)(explaining best practice is to reassign when resentencing.) The Court

continues the appointment of Amy Levin Weil to represent Petitioner in the criminal case

through final judgment and any appeal.
     Case 1:15-cr-00107-DHB-BKE Document 282 Filed 10/18/21 Page 2 of 2



       upon the foregoing, the Court CLOSES this civil action and DIRECTS the Clerk to

enter an appropriate final judgment in this civil case.

       SO ORDERED this /.f^day of October, 2021, at Augusta, Georgia.



                                            J. RANmL HALL, CHIEF JUDGE
                                            UNITED STATES DISTRICT COURT
                                                  ilERN DISTRICT OF GEORGIA
